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UN]TED STATES DISTRICT COURT
FOR THE`, MIDDLE DISTRICT OF PENNSYLVANIA

LORI HAWLEY and GERALD HAWLEY,:

individually and as Wife and husband,
74 Wildflower Circle
Gouldsboro, PA 18424-8720

Plaintiffs
v.

ION CEBOTARI
3265 KirchoffRoad, Apt. 320,
Rolling Meadows, IL 60008

V‘

EFROS GROUP, LLC, individually and
t/d/b/a EFROS TRANSPORTATION

1 132 S. Hiddenbrook Trail

Palatine, IL 60067~9105

AMAZON LOGISTICS, INC., t/d/b/a
AMAZON LOGISTICS, LLC,

c/o Coi'poration Service Company
251 Litt]e Falls Drive

Wilmington, DE 19808

Defendants

: CIVIL ACTION NO.

: ASSIGNED TO JUDGE

: ]URY TRIAL DEMANDED

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AND NOW, come the Plaintiffs, Lori Hawley and Gerald Hawley,
individually and as wife and husband, by and through their attorneys, Metzger,
Wickersham, Knauss & Erb, P.C., and respectfully represent the following:

FACTS APPLICABLE TO ALL COUNTS

1. Plaintiffs, Lori Hawley and Gera]d Hawley, are adult individuals who
reside at 74 Wildflower Circle, Gouldsboro, l\/[onroe County, Pennsylvania, 18424-
8720.

2. Defendant, lon Cebotari, is an adult individual with a last known
address of 3265 Kirchoff Road, Apartment 320, Rolling Meadows, Illinois, 60008.

3. Defendant, Efros Group, LLC, individually and t/d/b/a Efros
Transportation, is an Illinois corporation With a principal office and place of
business at 1132 South Hiddenbrook Trail, Palatine, Illinois, 6006'7-9105.

4. Defendant, Amazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC is
a Delaware corporation with its principal office and place of business at 5214 lSt
Avenue S, Unit B, Seattle, Washington, 98108.

5 . Defendant, Amazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC is
a Delaware corporation With a registered agent address of 251 Little Falls Drive,
Wilmington, Delaware, 19808.

6, At all times herein and material hereto, Defendant, Ion Cebotari Was

the duly authorized agent, servant, workman and/or employee of Defendant, Efros

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Group, LLC, individually and t/d/b/a Efros Transportation, and/or Amazon
Logistics, Inc., t/dfb/a Amazon Logistics, LLC, acting within the course and scope
of his employment, and their authority and/or for a purpose and/or for the benefit
of Defendant, Efros Group, LLC individually and t/dfb/a Efros Transportation
and/or Amazon Logistics, Inc, t/d/ b/ a Amazon Logistics, LLC,

7. At all times relevant hereto, and at the time of the accident described
herein, Defendant, Efros Group, LLC individually and t/d/b/a Eli‘os Transportation
and/or Amazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC, controlled and had
a right to control the manner in which Defendant, Ion Cebotari, performed his
employment duties, including the operation of his tractor~trailer on the highway
and all other aspects of his employmentl

8. This Coult has jurisdiction of this action under 28 U.S.C. §1332,
Diversity of Citizenship.

9. The amount in controversy exceeds the sum or value of $'75,000.00,
exclusive of interest and costs and is between citizens of different states.

10. The facts and circumstances hereinafter set forth occurred on
November 28, 2016, at or about 11:09 a.m. on Interstate 80, Stroud Township,

Monroe County, Pennsylvania.

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11. At the aforesaid time and place, Plaintiff, Gerald Hawley, was the
owner and operator of a 2004 Ford Taurus bearing Pennsylvania License Plate No.
JPHl 106.

12. At the aforesaid time and place, Plaintiff, Lori Hawley, was a right
front seat passenger in the vehicle being operated by Plaintiff, Gerald Hawley.

13. At the aforesaid time and place, Defendant, lon Cebotari, was the
operator of a 2014 Freightliner truck bearing Indiana License Plate No. 2427076.

14. At the aforesaid time and place, the 2014 Freightliner truck operated
by Defendant, Ion Cebotari, was leased through Penske Truck Leasing.

15. At the aforesaid time and place, the 2014 Freightliner was pulling a
semi-trailer with a State of Oregon Tag Number HV17392 which was owned by
Defendant Amazon Logistics, Inc., t/dfb/a Amazon Logistics, LLC.

16. At the aforesaid time and place, Plaintiffs were traveling eastbound on
Interstate 80 in the area of the 302 exit, Stroud Township, Monroe County,
Pennsylvania and were in the right lane.

17. At the aforesaid time and place, Defendant Cebotari was also
traveling eastbound on Interstate 80, Stroud Township, Monroe County,
Pennsylvania and was positioned in the left lane.

18. At the aforesaid time and place, Defendant Cebotari was operating the

2014 Freightliner truck and trailer with the permission of Defendants, Efros Group,

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LLC, individually and t/d/b/a Efros Transportation; and/or Amazon Logistics, Inc.,
t/d/b/a Amazon Logistics, LLC, and within the scope of his authority and
employment with said Defendants, which controlled and had the right to control
his operation of the tractor and trailer under applicable governmental laws and
regulations

19. At the aforesaid time and place, Defendant Cebotari was next to
Plaintiffs’ vehicle, and began to merge into the right lane without clearance and
struck Plaintiffs’ vehicle.

20. At the aforesaid time and place, the force of this collision caused
Plaintiffs’ vehicle to spin counter clockwise and spin in front of the truck and
trailer operated by Defendant Cebotari. Plaintiffs’ vehicle was then pushed in the
roadway by Defendant Cebotari until it was driven into a grass median where it
came to a final rest.

21. As a result of the collision, Plaintiffs, Lori Hawley and Gerald
Hawley, sustained injuries and damages

COUNT I
Lori Hawlev v. Ion Cebotg_l_‘_i

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22. Paragraphs 1 through 21 hereof are incorporated herein by reference

as if fully set ama

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23. Defendant, lon Cebotari, either individually and/or jointly and

severally, owed a duty to Plaintiff, Lori Hawley, and other lawful users of the

roadways in the Commonwealth of Pennsylvania to operate the vehicle he was

driving in Such a way as not to cause harm or damage to the Plaintiff.

24. The aforesaid collision was the direct and proximate result of the

negligence of the Defendant, lon Cebotari, either individually and/or jointly and

severally, in operating the 2014 Freightliner tractor-trailer in a careless and

negligent manner as follows:

a'

Failing to drive his vehicle in a single lane of travel and moving
his vehicle from that lane When not safe to do so in violation of
75 Pa. C.S.A. §3309 and applicable law;

Overtal<ing and passing another vehicle when such movement
could not be made With safety in violation of 75 Pa. C.S.A.
§3303 and applicable law;

Failing to safely pass in violation of 75 Pa. C.S.A. §3303 and
applicable law;

Failing to safely merge;

Driving his vehicle at an unsafe speed under the conditions and
hazards existing in violation of 75 Pa. C.S.A. §3361 and
applicable law;

In failing to have his vehicle under proper and adequate control;

In failing to observe Plaintiffs’ vehicle on the roadway;

In failing to keep a reasonable look-out for other vehicles
lawfully on the road;

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i. In failing to yield the right-of-way to traffic already upon the
roadway;

j. In failing to use appropriate signals indicating movement out of
his lane of travel;

k. Moving his vehicle from one traffic lane to another before such
movement could be made with reasonable safety in violation of
75 Pa. C.S.A. §3334 and applicable law;

1. Failing to signal in any way his movement between lanes;

m. Improperly changing lanes;

n. Operating his vehicle at an excessive rate of speed under the
circumstances;

o. Exceeding the maximum speed limit in violation of 75 Pa.
C.S.A. §3362 and applicable law;

p. In operating the vehicle so as to create a dangerous situation for
other vehicles on the roadway;

q. Carelessly passing and/or changing lanes;

r. Cutting off the Plaintiffs’ vehicle;

s. Not being familiar with the route of travel or not utilizing
proper directions;
t. Failing to give warning to Plaintiff of his impending collision

with Plaintiffs’ vehicle;

u. Failing to drive in the right lane in violation of 75 Pa. C.S.A.
§3313 and applicable law;

v. Moving the vehicle he was operating when not safe to do so in
violation of 75 Pa. C.S.A. §3333 and applicable law;

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ii.

Operating the tractor-trailer while tired, fatigued and/or under a
physical or mental condition that impaired his ability to safely
operate the vehicle in violation of 49 CFR §392.3 and
applicable law;

Changing lanes without taking necessary precautions to ensure
that lane was clear of traffic;

Failing to keep his vehicle under proper and adequate control so
as not to expose other users to an unreasonable risk of harm;

Failing to pay attention or keep alert for other vehicles on the
roadway;

Failing to obey traffic control devices in violation of 75 Pa.
C.S.A. 3111 and applicable law;

Failing to apply the brakes to the vehicle he was operating or
take other evasive action to avoid a collision with Plaintiffs’
vehicle;

Failing to ensure and take precautions that no vehicles were in
any blind spots;

Failing to keep the vehicle within the proper lane;
Colliding with Plaintiffs’ vehicle;
Operating his vehicle while distracted;

Operating his vehicle while using an interactive wireless
communications device in violation of` 75 Pa. C.S.A. §3316 and
applicable law; '

Operating his vehicle in careless disregard for the safety of
persons and/or property in violation of 75 Pa. C.S.A. §3714 and
applicable law;

Texting while driving in violation of 75 Pa. C.S.A. §1621 and
49 C.F.R. §392.80 and applicable law;

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Operating his vehicle was using a handheld mobile telephone in
violation of 75 Pa. C.S.A. §1622 and 49 C.F.R. §392.82 and
applicable law;

Failing to comply with commercial driver requirements in
violation of 75 Pa. C.S.A §1601, et seq. and applicable law;

Failing to operate his vehicle with a higher standard of care as
required by a commercial driver;

Operating his vehicle at an unsafe speed in violation of Part
392.6 of the U.S. Department of Transportation F ederal Motor
Carrier Safety Regulations;

Failing to comply with the operating rules of Pennsylvania or of
the U.S. Department of Transportation Federal Motor Carrier
Safety Reglations in violation of 49 CFR §392.2;

Driving the Freightliner when not qualified to do so in violation
of49 CFR §391.11;

Failing to have the knowledge and skills necessary to operate
the Freightliner safely in violation of 49 CFR §383.110; 49
CFR §383.111(a), (b), (c); and 49 CFR §383.113.

As a direct and proximate result of the collision and the negligent and

careless conduct of Defendant, lon Cebotari, either individually and/or jointly and
severally, Plaintiff, Lori Hawley, sustained and in the future may sustain, serious
and debilitating injuries, some of which are or may be permanent, an aggravation
and/or exacerbation of pre-existing conditions, and which include, but are not

limited to, the following:

a. Neck pain/injury;
b. Backpain/injury;

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Bilateral leg pain/injury;

Right shoulder pain/injury;

Left hip painfinjury;

Right-sided facial numbness with right eyelid drop;
Headaches;

Neuralgia of right side;

Unsteady gait;

Fatigue;

Post-traumatic hematoma on right breast;
Lightheadedness;

Radiculopathy;

Nausea;

Sleep disturbance;

Right arm pain/injury.

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26. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Ion Cebotari, either individually and/or jointly and
severally, Plaintiff, Lori Hawley, has undergone and in the future will undergo
physical pain, mental anguish, discomfort, inconvenience, distress, embarrassment
and humiliation, past, present and future loss of her ability to enjoy the pleasures of
life and limitations in her pursuit of daily activities for which damages are claimed.

27. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Ion Cebotari, either individually and/or jointly and
severally, Plaintiff, Lori Hawley, has and/or may in the future incur expenses for
medical treatment, surgery and rehabilitation for which damages are claimed.

28. As a direct and proximate result of the aforesaid collision, negligence

and carelessness of Defendant, Ion Cebotari, either individually and/or jointly and

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severally, Plaintiff, Lori Hawley, has and/or may in the future incur a loss of
income, a loss of future earning capacity, loss of future productivity, loss of
household services, and other economic damages for which damages are claimed.

29. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Ion Cebotari, either individually and/or jointly and
severally, Plaintif`f, Lori Hawley, has sustained a permanent serious impairment
which will require future medical treatment and medical appliances for which
damages are claimed.

30. As a direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Ion Cebotari, either individually and/or jointly and
severally, Plaintiff, Lori Hawley, has and/or may in the future incur a loss of
household services and other economic damages for which damages are claimed

31. 'As a direct and proximate result of the aforesaid collision and the
negligence and carelessness of Defendant, lon Cebotari, either individually and/or
jointly and severally, Plaintiff, Lori Hawley, sustained incidental costs and losses
to include, but not limited to, mileage and transportation costs, past and future
medication costs and medical appliance costs for which all damages are claimed.

32. As a direct and proximate result of the aforesaid collision, negligence

and carelessness of Defendant, Ion Cebotari, either individually and/or jointly and

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severally, Plaintiff, Lori Hawley, has been, or may in the future be, scarred,
deformed and disfigured for which damages are claimed.

33. As a result of the collision, Plaintiffs’ insurance carrier, Farmers
lnsurance Company (Mid-Century lnsurance Company), paid approximately
$2,375.57 towards property damage and related claims and Farrners lnsurance
Company will be pursuing a subrogation claim against Defendants for that amount.

WHE'REFORE, Plaintiff, Lori Hawley, demands judgment in her favor and
against Defendant, lon Cebotari, either individually and/or jointly and severally,
for the aforesaid damage which exceeds Seventy~Five Thousand Dollars
($75,000.00), exclusive of interest and costs, plus damages for delay, costs and

interest incurred in this action.

COUNT II

Lori Hawley v. Efros Group, LLC, individually and

t/d/b/a Efros Transportation
Vicaricus Liabilitv/Respondeat Sgperior/AgeMv/Negligence

34. Paragraphs 1 through 33 hereof are incorporated herein by reference
as if fully set forth.

35. At all times relevant hereto, Defendant, lon Cebotari, was an
employee, servant, workman and/or agent of Defendant, Efros Group, LLC,
individually and t/d/b/a Efros Transportation, and was acting within the scope of

his employment with Defendant, Efros Group, LLC, individually and t/dfb/a Efros

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Transportation.

Defendant, Efros Group, LLC, individually and t/dfb/a Efros

Transportation, is therefore vicariously liable for Defendant Cebotari’s acts,

commissions or omissions as though it performed the acts, commissions or

omissions itself and is subject to the doctrine of respondeat superior.

36. In addition to being vicariously liable for the acts of its employee,

servant, workman and/or agent, Defendant, Efros Group, LLC, individually and

t/d/b/a Efros Transportation, either individually and/or jointly and severally, was

also negligent and careless as follows:

El.

Failing to properly train its employees, servants, workmen
and/or agents in the operation of its vehicles;

Failing to provide its employees, servants, workmen and/or
agents with proper directions before allowing them to operate
its vehicles;

Failing to ensure that its employees, servants, workmen and/or
agents are familiar with the roadways and route of travel before
allowing them to operate its vehicles;

Failing to properly supervise or control its employees, servants,
workmen and/or agents while they are operating its vehicles;

Hiring and/or retaining employees, servants, workmen and/or
agents who may be unfit or incompetent to operate its vehicles;

Failing to have in place proper procedures, rules, regulations,
protocols or safety measures to ensure that other motorists are
not endangered by the operation of its vehicles by its
employees, servants, workmen and/or agents;

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g. Sending out its employee, servant, workman and/or agent for an
errand or job without proper instructions, directions and
guidance;

h. Failing to take proper precautions to protect Plaintiff and other
lawful users of the roadway from the negligent and careless
actions of its employees, servants, workmen and/or agents;

i. Allowing an employee, servant, workman and/or agent who is
incompetent to safely drive its vehicle, due to lack of training,
licensing and/or prior unsafe driving;

j. Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while texting in violation of
Part 392 of the U.S. Department of Transportation Federal
Motor Carrier Safety Regulation in particular 49 CFR §392.80;

k. Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while using a hand-held
mobile telephone in violation of Part 392 of the U.S.
Department of Transportation Federal Motor Carrier Safety
Regulation in particular 49 CFR §392.82;

l. Allowing an employee, servant, workman and/or agent to text
while driving in violation of 75 Pa. C.S.A. §1621 and
applicable law;

m. Failing to enforce its employee manuals and/or training
procedures;

n. Failing to enforce both the written and unwritten policies of
Efros Group, LLC, individually and t/d/b/a Efros
Transportation;

o. Failing to ensure that its employees, servants, workmen, agents
and/or contractors were aware of and complied with the written
and unwritten policies of Efros Group, LLC, individually and
t/dfb/ a Efros Transportation;

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p. Failing to ensure that its management personnel and drivers
were aware of the requirements and the dictates of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Vehicle Code;

q. Failing to ensure that its employees, servants, workmen, agents
and/or contractors complied with the provisions of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Vehicle Code;

r. Failing to ensure that its employees, servants, worlonen, agents,
contractors and/or apparent agents were aware of and complied
with the rules, laws and regulations pertaining to and governing
the operation of commercial vehicles;

s. Failing to use a high degree of care as a commercial carrier in
the operation of its vehicle;

t. Failing to have an adequate brake system on the tractor-trailer
in violation of 49 CFR §393.40;

u. Violating equipment standards in violation of 75 Pa. C.S.A.
§4107 and applicable law;

v. Failing to properly maintain and inspect the tractor-trailer to
ensure it was in safe operating condition in violation of 49 CFR
§396.3 and §396.13;

w. Having commercial vehicle operators who do not have the
required knowledge or skill to safely operate its vehicles in
violation of 49 C.F.R. §383.111~383.113;

x. Allowing its employee, servant, workman and/or agent to
operate its vehicle in careless disregard for the safety of persons
and/or property in violation of 75 Pa. C.S. §37 14 and applicable
law;

y. Allowing its employee, servant, workman and/or agent to

operate its vehicle while tired, fatigued and/or under a physical
or mental condition that impaired its driver’s ability to safely

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operate the vehicle in violation of 49 CFR §392.3 and
applicable law;

z. Allowing its employee, servant, workman and/or agent to
operate its vehicle while distracted;

aa. Failing to ensure the carriers with whom they contract or ship
with that they provide competent drivers to ship its goods and

not endanger other motorists;

bb. Failing to instruct its employee, servant, workman and/or agent
to not operate the vehicle while distracted;

cc. Negligently entrusting a motor vehicle to an individual who had
not been properly trained in the operation of its motor vehicle,

37. As a result of the aforesaid negligence and carelessness of Defendant,
Efros Group, LLC, individually and t/d/b/a Efros Transportation, either
individually and/or jointly and severally, Plaintiff, Lori Hawley, sustained the
aforesaid damages.

WHEREFORE, Plaintiff, Lori Hawley, demands judgment in her favor and
against Defendant, Efros Group, LLC, individually and t/d/b/a Efros
Transportation, either individually and/or jointly and severally, for the aforesaid
damage which exceeds Seventy-Five Thousand Dollars ($75,000.00), exclusive of
interest and costs, plus damages for delay, costs and interest incurred in this action.

COUN'I` III

Lori Hawley v. Amazon Logistics, Inc., t/d/b/a
Amazon Logistics, LLC
Vicarious Liabilig;/Respondeat Superior/Agencv/Neg_l_igence

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38. Paragraphs 1 through 37 hereof are incorporated herein by reference
as if fully set forth.

39. At all times relevant hereto, Defendant, Ion Cebotari, Was an
employee, servant, workman and/or agent of Defendant, Amazon Logistics, Inc.,
t/d/b/a Amazon Logistics, LLC, and was acting within the scope of his
employment with Defendant, Amazon Logistics, Inc., t/dfb/a Amazon Logistics,
LLC. Defendant, Arnazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC is
therefore vicariously liable for Defendant Cebotari’s acts, commissions or
omissions as though it performed the acts, commissions or omissions itself and is
subject to the doctrine of respondeat superior.

40. In addition to being vicariously liable for the acts of its employee,
servant, Workman and/or agent, Defendant, Amazon Logistics, Inc., t/d/b/a
Amazon Logistics, LLC, either individually and/or jointly and severally, was also
negligent and careless as follows:

a. Failing to properly train its employees, servants, workmen
and/or agents in the operation of its vehicles;

b. Failing to provide its employees, servants, workmen and/or
agents with proper directions before allowing them to operate
its vehicles;

c. Failing to ensure that its employees, servants, workmen and/or

agents are familiar with the roadways and route of travel before
allowing them to operate its vehicles;

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d. Failing to properly supervise or control its employees, servants,
workmen and/or agents while they are operating its vehicles;

e. Hiring and/or retaining employees, servants, workmen and/or
agents Who may be unfit or incompetent to operate its vehicles;

f`. Failing to have in place proper procedures, rules, regulations,
protocols or safety measures to ensure that other motorists are
not endangered by the operation of its vehicles by its
employees, servants, workmen and/or agents;

g. Sending out its employee, servant, workman and/or agent for an
errand or job without proper instructions, directions and
guidance;

h. Failing to take proper precautions to protect Plaintiff and other
lawful users of the roadway from the negligent and careless
actions of its employees, servants, workmen and/or agents;

i. Allowing an employee, servant, workman and/or agent who is
incompetent to safely drive its vehicle, due to lack of training,
licensing and/ or prior unsafe driving;

j. Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while texting in violation of
Part 392 of the U.S. Department of Transportation Federal
Motor Carrier Safety Regulation in particular 49 CFR §392.80;

k. Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while using a hand-held
mobile telephone in violation of Part 392 of the U.S.
Department of Transportation Federal Motor Carrier Safety
Regulation in particular 49 CFR §392.82;

l. Allowing an employee, servant, workman and/or agent to text
while driving in violation of 75 Pa. C.S.A. §1621 and

applicable law;

m. Failing to enforce its employee manuals and/or training
procedures;

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n. Failing to enforce both the written and unwritten policies of
Amazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC;

o. Failing to ensure that its employees, servants, workmen, agents
and/or contractors Were aware of and complied with the Written
and unwritten policies of Arnazon Logistics, Inc., t/d/b/a
Amazon Logistics, LLC;

p. Failing to ensure that its management personnel and drivers
were aware of the requirements and the dictates of the Federal

Motor Carrier Safety Regulations and the Pennsylvania Motor
Vehicle Code;

q. F ailing to ensure that its employees, servants, workmen, agents
and/or contractors complied with the provisions of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Vehicle Code;

r. F ailing to ensure that its employees, servants, workmen, agents,
contractors and/or apparent agents were aware of and complied
with the rules, laws and regulations pertaining to and governing
the operation of commercial vehicles;

s. Failing to use a high degree of care as a commercial carrier in
the operation of its vehicle;

t. Failing to have an adequate brake system on the tractor-trailer
in violation of 49 CFR §393.40;

u. Violating equipment standards in violation of 75 Pa. C.S.A.
§4107 and applicable law;

v. Failing to properly maintain and inspect the tractor-trailer to
ensure it was in safe operating condition in violation of 49 CFR
§396.3 and §396.13;

w. Having commercial vehicle operators who do not have the
required knowledge or skill to safely operate its vehicles in
violation of49 C.F.R. §383.111-383.113;

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aa.

bb.

Cc.

Allowing its employee, servant, workman and/or agent to
operate its vehicle in careless disregard for the safety of persons
and/or property in violation of 75 Pa. C.S. §3714 and applicable
law;

Allowing its employee, servant, workman and/or agent to
operate its vehicle while tired, fatigued and/or under a physical
or mental condition that impaired its driver’s ability to safely
operate the vehicle in violation of 49 CFR §392.3 and
applicable law;

Allowing its employee, servant, workman and/or agent to
operate its vehicle while distracted;

Failing to ensure the carriers with whom they contract or ship
with that they provide competent drivers to ship its goods and
not endanger other motorists;

Failing to instruct its employee, servant, workman and/or agent
to not operate the vehicle while distracted;

Negligently entrusting a motor vehicle to an individual who had
not been properly trained in the operation of its motor vehicle,

41. As a result of the aforesaid negligence and carelessness of Defendant,

Amazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC, either individually and/or

jointly and severally, Plaintiff, Lori Hawley, sustained the aforesaid damages

WI-IEREFORE, Plaintiff, Lori Hawley, demands judgment in her favor and

against Defendant, Amazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC, either

individually and/or jointly and severally, for the aforesaid damage which exceeds

Seventy-Five Thousand Dollars ($75,000.00), exclusive of interest and costs, plus

damages for delay, costs and interest incurred in this action.

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COUNT IV
wl Hawlev v. log Cebotari
Loss of Consortium

42. Paragraphs 1 through 41 hereof are incorporated herein by reference
as if fully set forth.

43. During all relevant times, Plaintiffs, Lori Hawley and Gerald Hawley,
were wife and husband, and solely as a result of the collision, the aforesaid
negligence and careless of Defendant, lon Cebotari, and as a result of the injuries
to Plaintiff, Lori Hawley, the Plaintiff, Gerald Hawley, has been deprived of the
assistance, companionship, consortium and society of his wife and has lost her
services to him which may continue indefinitely.

WHEREFORE, Plaintiff, Gerald Hawley, demands judgment in his favor
and against Defendant, lon Cebotari, either individually and/or jointly and
severally, for the aforesaid damages which exceeds Seventy-Five Thousand
Dollars ($75,000.00), exclusive of interest and costs, plus damages for delay, costs

and interest incurred in this action.

COUNT V
Gerald Hawlev v. Efros Grot_ln. LLC, ilLiivid_uallv and
t/d/b/a Efros Transpnrtatien
Loss of Consortium

44. ' 'Paragraphs 1 through 43 hereof are incorporated herein by reference

as if fully set forth.

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45. During all relevant times, Plaintiffs, Lori Hawley and Gerald Hawley,
were wife and husband, and solely as a result of the collision, the aforesaid
negligence and careless of Defendant, Efros Group, LLC, individually and t/d/b/a
Efros Transportation, and as a result of the injuries to Plaintiff, Lori Hawley, the
Plaintiff, Gerald Hawley, has been deprived of the assistance, companionship,
consortium and society of his wife and has lost her services to him which may
continue indefinitely

WHEREFORE, Plaintiff._. Gerald Hawley, demands judgment in his favor
and against Defendant, Efros Group, LLC, individually and t/d/b/a Efros
Transportation, either individually and/or jointly and severally, for the aforesaid
damages which exceeds Seventy-Five Thousand Dollars ($75,000.00), exclusive of

interest and costs, plus damages for delay, costs and interest incurred in this action.

MY.I_
Gerald Hawley v. Amag.gn Logistic§,an., t/d/b/a Amazon Logistics. LLC
Loss of Consortium
46. Paragraphs 1 through 45 hereof are incorporated herein by reference
as if fully set forth.
47. During all relevant times, Plaintiffs, Lori Hawley and Gerald Hawley,

were wife and husband, and solely as a result of the collision, the aforesaid

negligence and careless of Defendant, Amazon Logistics, Inc., t/d/b/a Amazon

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Logistics, LLC, and as a result of the injuries to Plaintiff, Lori Hawley, the
Plaintiff, Gerald Hawley, has been deprived of the assistance, companionship,
consortium and society of his wife and has lost her services to him which may
continue indefinitely
WI-IEREFORE, Plaintiff, Gerald Hawley, demands judgment in his favor

and against Defendant, Amazon Logistics, Inc., t/d/b/a Amazon Logistics, LLC,
either individually and/or jointly and severally, for the aforesaid damages which
exceeds Seventy-Five Thousand Dollars ($75,000.00), exclusive of interest and

costs, plus damages for delay, costs and interest incurred in this action.

METZGER, WICKERSHAM, KNAUSS & ERB, P.C.

By: /s/ Zacharv D. Camnbell
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UNSWORN I)ECLARATION UNDER PENALTY OF PERJURY

I, Zachary D. Campbell, Esquire, hereby declare that I am the attorney for the

Plaintiffs and that the facts in the foregoing Complaint, are true and correct to the

best of my knowledge, information, and belief`. l, Zachary D. Campbell, Esquire,

further declare under the penalty of perjury that the foregoing is true and correct.

Dated: Nov. 8, 2018

By: /s/ Zacharv D. Campbell

1\4ETZGER, WICKERSHAM, KNAUSS & ERB, P.C.

 

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